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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


BENNETT INTERNATIONAL                     )
GROUP, LLC,                               )
                                          )
         Plaintiff,                       )     CIVIL ACTION
                                          )
vs.                                       )     FILE NO.
                                          )
ALLIED WORLD SPECIALTY                    )
INSURANCE COMPANY,                        )
                                          )
         Defendant.                       )
                                          )

                               NOTICE OF REMOVAL

         Defendant Allied World Specialty Insurance Company (“Allied World”),

pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, files this Notice of Removal and

respectfully shows the Court the following:

                                           1.

         On or about April 30, 2021, Plaintiff Bennett International Group, LLC filed

this action against Allied World in the Superior Court of Henry County, State of

Georgia, entitled Bennett International Group, LLC v. Allied World Specialty

Insurance Company, Case No. SUCV2021001066, by filing its Complaint.




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                                            2.

         Plaintiff is a limited liability company. Upon information and belief, its

membership is comprised of two members: MGT Holdings, LLC and MGT

Management Services, LLC. Upon information and belief, the sole member of

both MGT Holdings, LLC and MGT Management Services, LLC is Marcia G.

Taylor, an individual citizen of Georgia.

                                            3.

         Allied World is a Delaware corporation with its principal place of business

in the State of New York.

                                            4.

         There is complete diversity because Plaintiff is a citizen of Georgia and

Allied World is a citizen of the states of Delaware and New York.

                                            5.

         In the Complaint, Plaintiff seeks, among other things, $468,417.00.

Therefore, the amount in controversy exceeds $75,000.

                                            6.

         As there is complete diversity and the amount in controversy exceeds

$75,000, this Court has original jurisdiction of this matter under 28 U.S.C. § 1332.




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                                           7.

         This Notice of Removal is timely because it was filed within thirty days of

service of the Complaint on Allied World.

                                           8.

         All process, pleadings, and orders served on Allied World are attached

hereto as Exhibit 1.

                                           9.

         Pursuant to 28 U.S.C. § 90(a)(2), the United States District Court for the

Northern District of Georgia, Atlanta Division, is the district court having

jurisdiction over the geographical area where the state court action is pending.

Pursuant to 28 U.S.C. § 1446(a), Allied World is entitled to remove this action

from the Superior Court of Henry County, Georgia.

                                          10.

         Consistent with 28 U.S.C. § 1446(d), Allied World will provide written

notice of its filing of this Notice of Removal to the plaintiff and the Clerk of Court

for the Superior Court of Henry County, State of Georgia.




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                                          11.

         Accordingly, Allied World respectfully requests that the Court assume full

jurisdiction of the controversy now pending between Plaintiff and Allied World in

the Superior Court of Henry County as provided by law.

         Respectfully submitted this 26th day of May, 2021.

                                         CARLTON FIELDS P.A.


                                         By: /s/ Jason A. Morris
                                             Jason A. Morris
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                                                Attorney for Defendant Allied World
                                                Specialty Insurance Company




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                            CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that on May 26, 2021, I served a true and correct

copy of the foregoing document via the CM/ECF system and by depositing a copy

of same into the United States mail, with sufficient postage affixed thereto, to

counsel of record who are non-CM/ECF participants, addressed as follows:

                               Scott W. McMickle, Esq.
                                 Jon M. Hughes, Esq.
                            McMickle, Kurey & Branch, LLP
                                  217 Roswell Street
                                      Suite 200
                              Alpharetta, Georgia 30009


                                         /s/ Jason A. Morris
                                         Jason A. Morris




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